

*266
The Court,


Harrington, Ch. J.,

charged the jury: In the opinion of the Court, nothing short of a direct acknow*267lodgment, or a distinct admission of the existence of the debt ás a subsisting demand, is sufficient to take the case *268out of the operation of the statute of limitations; but if they were satisfied that the written agreement which had been given in evidence-between the plaintiff, as the administrator of Miers Burton, deceased, and the defendant, was signed by the latter, then the Court considered it such an acknowledgment of a subsisting, demand on the promissory note in question, as would remove the bar of the statute.
ttoTlfi.—Houston, J., did not sit in this case, having been of counsel for the defendant.
